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AO 245 S (Rev. 4/90) (N. D. Ala. rev. ) Sheet 1 a Jud gment in a Criminal Case

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Western District of Tennessee @5~ 96 m , q
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UNITED sTATEs oF AMERICA E~?i~,-U\"U[j{" '_;.‘3
Plaintiff, WJD.UF WW, I;LMPHE

VS. Case Number 2:00CR20122-02-D

WYNTA EARNEST
Defendant.

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November l, 1987)

The defendant, Wynta Earnest, was represented by Needum Louis Germany, III,

Esq.
It appearing that the defendant, who was convicted on September 17, 2001, in the
above styled cause and was placed on Supervised Release for a period of three (3) years

and has violated the terms of Supervised Release.

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant is hereby sentenced to Time Served.

Furthermore, the Court imposes a term of Supervised Release of eight (S)months, with
the following conditions of supervised release:

1) The defendant shall serve eight (8) months in a Halfway House.

The Court also re-imposes all of the previous conditions of Supervised Release
and monetary penalties as previously imposed.

Signed this the E;E;F day of April, 2005.

 

TED STATES DISTRICT JUDGE

Defendant's SS No.: XXX-XX-XXXX
Defendant's Date of Birth: 03/14/1978
U.S. Marshal No.: 17532-076

Defendant‘s Mailinq Address: 1629 Winchester, Memphis, TN 38116.

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Honorable Bernice Donald
US DISTRICT COURT

